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BY
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7 IN TI-IE UNITED STATES DISTRICT COURT
FOR TI-[E WESTERN DISTRICT OF WASHINGTON
8 AT SEATTLE
9 BAlNS LLC d/b/a Flying B, )
10 Plamtiff, No. COl-OZBSZ
ll V' ]OINT STATEIVIENT OF

12 ARCO PRODUCTS COMPANY, a division of

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g DISPUTED H~ISTRUCTIONS
Atla.ntic Rlchfleld Co., a Delaware Corporation, )
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Defendants.
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15 Pursuant to Local Civ11 Rule 51 , the partles submlt the following Disputed Instructlons
16 The parties incorporate the Court’s Proposed Instructlons by reference, and adopt the Com't’s
17 Proposed Instruction numbers for additions and changes to the Court’s Proposed Instructlons.
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20 DATED this 11 day of Ju;ne, 2002.
21
Davls anht Tremame LLP
22 Attomeys for ARCO Products Company
23
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By
25 Michael Rei , WSBA # 10707
Holly M. Heam, WSBA # 26795
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At|;omeys for Bains LLC

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Edwm S. H]\dge, WSBA #24182
Erik J. Heipt, WSBA # 28113

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Clvil Jury Instr 7.2
(2001)
(substantially
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DEFENDANT’S PROPOSED INSTRUCTION NO. 9
LIABILITY OF CORPORATIONS

A corporation under the law is a person, but it can only act through its employees,
agents, directors, or officers The law therefore holds a corporation responsible for the acts of
its employees, agents, directors, and officers, but only if those acts are authorized An act is
authorized if it is a part of the ordinary course of employment of the person doing it.

The fact that plaintiff and defendant are both corporations should not affect your
decision All persons are equal before the law, and a coiporatioii, whether large or small, is
entitled to the same fair and conscientious consideration by you as any other person.

Source: Coui't’s Proposed lnstruction No 9, modified to state that the Plaintiff is also a
corporation and thus deserves fair treatment

Plaintiff’s Obiection: Plaintiff objects to this instruction Ninth Circuit Model Insti'uctiori 6 2
is the more appropriate instruction This instruction is potentially misleading because
discriminatory statements or acts are not “aut’norized” in the ordinary sense of the word, even
though the defendant is liable for such acts Plaintiff further objects on the ground that plaintiff

is a limited liability company, not a corporation

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PLAINTIFF’S PROPOSED INSTRUCTION NO. 10
SUMMARY OF PLAINTIFF’S CLAIMS

The Plaintiff submits the following to be inserted in the Court’s Proposed Instruction No. 10‘

The plaintiff is a company doing business under the name “F lying B.” Flying B is
owned by three brothers of East Indian heritage Flying B had a contract to haul fuel for the
defendant, ARCO. F lying B claims that ARCO unlawfully breached this contract Flying B
further claims that ARCO violated federal law prohibiting discrimination in contracting Flying
B also claims that it is entitled to compensatory damages and punitive damages.

The defendant, ARCO, demes these ciaims. ARCO further denies that compensatory or
punitive damages should be awarded.
DEFENDANT’S OBJECTI{)N: Defendant objects to Plaintiff’s Proposed Insert to
Instruction No. 10 on the grounds that this instruction uses the term “compensatory damages.”
This is not accurate as only economic and punitive, not compensatory, damages are maybe
allowed in this case. See Pretn`al Order and May 28, 2002 Minute Order. Defendant also
objects on the grounds that this instruction, as Well as the Court’s Proposed lnstruction, does
not provide a complete or accurate statement of Defendant’s contentions case. Defendant
therefore proposes the following language be inserted iii Instruction No. 10 and that the name

of the instruction be changed to “Statement of the Case”:

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DEFENDANT’S PROPOSED INSTRUCTION NO. 10
SUMMARY OF CLAIMS AND DEFENSES

The plaintiff is a company doing business under the name “Flying B.” Flying B is
owned by three brothers of East Indian heritage F lying B had a contract to haul fuel for the
defendant ARCO. Flying B claims that ARCO unlawfully breached this contract F lying B
further claims that ARCO violated federal law prohibiting discrimination in contracting Flying
B also claims that it is entitled to economic damages and punitive damages.

ARCO denies Flying B’s allegations ARCO maintains that Flying B’s contract was not
terminated for discriminatory reasons, that ARCO did not subject Flying B’s drivers to
disparate treatment, and that it based its decision to suspend F lying B’s contract on legitimate,
nondiscriminatory reasons ARCO maintains that F lying B was not qualified to transport fuel
for ARCO because it failed to go through ARCO’s mandatory “vetting” process and because
Flymg B’s drivers committed numerous and repeated safety violations. ARCO maintains that
any allegedly discriminatory comments by low~level employees cannot be imputed to ARCO
ARCO also disputes Flying B’s claims for damages.

Plaiiitiff’s Obiection: Plaintiff has no objection to substituting the term “economic”
for “compensatory,” although it should be noted that compensatory in this context simply
means economic. Plaintiff objects to the second paragraph of this proposed instruction because
it is a thinly-disguised argL@ent, not a statement of the case The Coin't’s proposed outline

(Court’s lnstruction No. IO) is appropriate and not argumentative

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PLAINTIFF’S PROPOSED INSTRUCTION NO. 12
DISCRIM]NATION - ELEN[ENTS AND BURDEN OF PROOF

F ederal law prohibits race discrimination in the making, perforrnance, modification and
termination of contracts, and the enjoyment of all benefits, privileges, terms and conditions of
the contractual relationship

Flying B has the burden of proving the following by the preponderance of the evidence:

l That Flying B was treated adversely in its contractual relationship With ARCO;

and

2. That the race of F lying B’s owners or employees was a motivating factor in such

adverse treatment

If you find that both of the elements have been proven by a preponderance of the
evidence, your verdict should be for Flying B. If, on the other hand, Flying B has failed to
prove either of these elements by a preponderance of the evidence, your verdict should be for
ARCO
Source 9th Cir. Civil Jury Instr 12.1 (2001) (modified from Title VII claim to § 1981 claim).
DEFENDANT’S OBJECTION Defendant objects to Plaintiff’ s Proposed Instruction No.
12 on the grounds that this instruction does not accurately state the law and that it is misleading
to the jury Specifically, this proposed instruction misinforms the jury that if they find any
discrimination they must find for the Plaintiff This ignores that “mixed motives” are a
complete defense to Section 1981 claims. See Mabra v Umted Food & Commercial Worksers
Local Umon No 1996, 176 F 3d 1357 (1 lth Cir 1999) (cited by Nim‘h Cir Model Jury Instr
Ckaprer 12, Introductory Commem‘, Seclzon 2, and holding that the 1991 amendments to the
Civii Rights Act (which partially overruled the Supreme Court’s decision in Price Waterhouse
v Hopkms, 490 U S 228 (1989), that mixed motives is a bar to recovery if the lawful motive
would have achieved the same result) do not apply to Section 1981 claims.), Donovan v lek

Marketmg Inc , 243 F 3d 584, 586-87 (2d Cir. 2001) (affirming the use of a mixed motive

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instruction for an age discrimination case because Price Waterhouse is still the controlling law
for these claims) Therefore, Defendant proposes the following instruction
DEFENDANT’S PROPOSED INSTRUCTION NO. 12
DISCRIM]NATION - ELEMENTS AND BURDEN OF PROOF
Federal law prohibits race discrimination in the making, performance, modification and
termination of contracts, and the enjoyment of all benefits, privileges, terms and conditions of
the contractual relationship
Flying B has the burden of proving the following by the preponderance of the evidence
1. That Flymg B was treated adversely iii its contractual relationship with ARCO,
and
2. That the race of Flying B’s owners or employees was a motivating factor in such
adverse treatment
If Flying B has failed to prove either of these elements by a preponderance of the
evidence, your verdict should be for ARCO If Flying B has not failed, you must decide if
ARCO would have made the same decision even if race was not a motivating factor.
Source: cited above in obj ection.
Plaintiff’s Ob|‘ectioii: The instruction is acceptable with two changes the penultimate
sentence should be changed to say “lf you find that both of those elements have been proven
by a preponderance of the evidence, your verdict should be for Flying B.” The last sentence

should be eliminated This is not a mixed-motives case.

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INSTRUCTION NO. 16
MEASURE OF DAMAGES

DEFENDANT’S OBJECTION: Defendant objects to the Court’s Proposed Insti'uction No

16. The instruction advises the jury that it should include a calculation of “pain, suffering,
emotional distress” caused by Defendant’s conduct The Plaintiff is a corporation, and cannot
recover for these damages, and these damages are not being sought in this case. Defendant also
objects to the last paragraph of the instruction for the same reason Defendant therefore

proposes that the same instruction should be given with the inapplicable portions deleted

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DEFENDANT’S PROPOSED INSTRUCTION NO. 23
MOTOR VEH]CLE SAFETY REGULATIONS
The Umted States Congress and the federal Departrnent of Transportation, as well as the
State of Washington, have enacted laws and adopted regulations to ensure the safe operation of
motor vehicle carriers and their drivers, particularly When transporting hazardous materials
The following regulations are relevant to this case.

0 All motor carriers must be familiar with these motor vehicle safety regulations and
instruct their drivers and employees regarding the regulations, all commercial drivers
Shall comply with the regulations (49 C.F.R. § 390.3(e)).

0 All motor vehicle and equipment must be maintained in compliance with the
regulations (49 C.F.R. § 390.3(e)(3)).

v Both the carriers and their drivers are required to observe the regulations (49 C F R. §
390 11).

¢ Any motor vehicles containing hazardous materials cannot be parked within 5 feet of a
public street or on private property without the knowledge and consent of the person
who is in charge of the property. (49 C.F.R. § 397.'0.

¢ Any motor vehicles containing explosive material must be attended at all times by its
driver or another qualified representative A motor vehicle is attended when the person
in charge of the vehicle is at least within 100 feet of the vehicle and has an unobstructed
view of the vehicle. (49 C F.R. § 397 5).

0 A person must be in control of the fueling process at the point where the fuel tank is

filled when a motor vehicle containing hazardous materials is being fueled. (49 C.F.R.

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A motor vehicle carrying hazardous materials’ tires must be consistently checked and
repaired before the vehicle is driven (49 C.F R. § 397 17).

No commercial motor vehicle shall be driven unless the driver is satisfied that the
brakes, steering mechanism, lights, horn, mirrors, and coupling devices are in good
Working order. (49 C.F.R § 392.7).

A person shall not drive a commercial motor vehicle unless he or she is qualified. To
be qualified a person must read and speak English sufficiently well to converse with the
general public and make entries on reports and records, must have a valid commercial
motor vehicle operator’s license, and must furnish his or her employer with a list of
violations they have committed within the past three years. (49 C.F.R. § 391 ll and
.21)

Carriers must check the driving record of each driver it hires for three years prior to hire
and annually thereafter. (49 C.F.R. §§ 391.21, 391\23, 391.25).

Cari'iers must give great weight to violations, including speeding and reckless drivmg,
to determme if a driver meets minimum qualifications for driving (49 C.F.R §§

391 .25).

Every driver must report all moving violations to his or her employer every year (49
C F.R. § 391.27).

No driver shall drive, nor shall any carrier require a driver to dnve, more than 10 hours
following 8 consecutive hours off duty (49 C.F R. § 395.3).

Under Washington Law, it is illegal to operate a motor vehicle longer than 50 feet with
6 axles on the bridge if the weight on the bridge is over 84,000 lbs. (RCW 46.44.041).

Under Washington Law, no commercial vehicle Weighing over 10,000 lbs. shall operate

 

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in the left hand lane of any road with three or more lanes in one direction, excluding
HOV lanes (RCW 46 61 100).
Source: lnternal citations (cornpliance with state and federal regulations an element of

plaintiffs contract and discrimination claims).

Plaintiff’s Ob]'ection:

Plaintiff objects to this instruction in its entirety lt is inappropriate to instruct the jury
to some selected CFRs and state regulations for multiple and varied reasons First, those CFRs
and State laws are chosen by Defendant from hundreds of potentially applicable rules and
regulations - various exceptions and contrary regulations apply in a variety of circumstances
We cannot give the jury M CFRs without giving them all CFRS, Which is obviously
impossible Plaintiff has not proposed to include the CFRs and presidential orders cited in the
parties’ contract that relate to discrimination because it is utterly impracticable to do so.
Moreover, the parties are not basing any claims or defenses on the CFRs or statutes per_se. The
only issue is Defendant’s motive in terminating the contract - whether or not there is an ac_tual
CFR violation.is not relevant Defendant’s witnesses can testify why they did what they did.
More importantly, it is simply not a jury question whether or not a CFR or other driving

regulation was violated; that is not the issue. Motive is the issue, and that can be determined

 

without instructing the jury on a handful of CFRs out of thousands

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DEFENDANT’S PROPOSED INSTRUCTION NO. 24
DAMAGES LIMITED TO CORPORATION

The plaintiff in this case is a limited liability corporation, which is a separate and
distinct entity apart from its owners and employees The only damages that you may award in
this case, if any, are economic damages to the corporation The owners and employees of the
corporation are not plaintiffs in this case, and you may riot award any damages to them nor
compensate the corporation on their behalf, including but not limited to any damages caused by
any emotional distress that any of them may have experienced

Source: May 28, 2002, Minute Order

Plaintiff’s Ob}'ection:

Plaintiff objects to this instruction First, it is inaccurate Punitive damages are also
available, therefore it is inaccurate to state that “economic” damages are the only damages
Moreover, plaintiff is a limited liability company, not a corporation If any similar instruction

is given, it need only state that emotional distress damages may not be awarded

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DEFENDANT’S PROPOSED INSTRUCTION NO. 25

DUTY TO MITIGATE DAMAGES

The plaintiff has the duty to use reasonable efforts to mitigate damages. To mitigate

means to avoid or reduce damages

The defendant has the burden of proving by a preponderance of the evidence:

l. that the plaintiff failed to use reasonable efforts to mitigate damages; and

2 the amount by which damages would have been mitigated

source 9th cir. civil Juiy rosa 7 3 (2001).

Plaintiff’s Obiection:
Plaintiff objects to any instruction regarding mitigation

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PLAINTIFF’S PROPOSED INSTRUCTION NO. 26
ADVERSE TREATMENT

Adverse treatment in a contractual relationship may include any of the following

conduct

a. Subjecting Flying B or its owners and/or employees to differential and less
desirable standards of treatment than enjoyed by other, non Indian¢owned
providers of transportation services,

b. Subjecting Flying B or its owners and/or employees to unwelcome and
pervasive harassment on the basis of race, which adversely affects Flying B as a
company;

c. Terminating, suspending or modifying the contractual relationship,

d. Refusing to continue to call on Flying B to provide hiel transportation services,

e Refiising to reinstate the parties’ contractual relationship; or

f. Refiising to continue to do business with Flying B.

Source' 42 U.S.C. § 1981; See, e g, Strother v Southern Cal Permanente Med Group, 79

F 3d 859, 875 (9th Cir. 1996) (42 U.S.C §1981 prohibits discrimination on the basis of race in
the “rnaking, performance, modification and termination of contracts, and the enjoyment of all
benefits, privileges, terms and conditions of the contractual relationship”).

DEFENDANT’S OBJECTION' Defendant objects to section “b” of Plaintiff’ s Proposed
Instruction No 26 as it is misleading to the jury in the context of this case 'Ihe owners and
employees of F lying B are not plaintiffs, and this instruction creates a strong impression that
acts taken against these individuals is actionable The last phrase attempting to limit the scope
of the instruction does not cure this problem, as it will be extremely difficult for the jury to
distinguish against possible harassment that affects and does not affect F lying B, the

corporation The prejudicial consequences of this instruction far outweigh its use, and thus

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Defendant asks that this section “b” of the instruction be removed. Defendant does not object
to the rest of this instruction
Plaintiff s Comment: The instruction is an accurate statement of the law This issue

was addressed in the June 4, 2002 pretrial conference

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DEFENDANT’S PROPOSED INSTRUCTION NO. 27
“MIXED MOTIVES” DEFENSE

The plaintiff in this case has offered evidence that the defendant’s decision to suspend
its contract with the plaintiff was motivated by the race of the plaintist owners and
employees The defendant in this case has offered evidence that its decision to suspend its
contract with the plaintiff was motivated by one or more lawful reasons If you find that the
race of the plaintiff’s owners and employees was a motivating factor in the defendant’s
decision to suspend its contract with the plaintiff, then the plaintiff is entitled to your verdict,
unless the defendant’s decision to suspend its contract with the plaintiff would have occurred
even if race was not a motivating factor In that case, the defendant is entitled to your verdict
Source Nim‘h Czr Model Jury Insi‘r § 12 2 (modified to change mixed motives from a limit on
liability to an affirmative defense) See Nmth Cir Model Jury Instr § 12 2, Commenr (“[T]his
instruction is not applicable in a § 1981 case.”), see also Mabra v Unzted Food & Commerczal
Worksers Local Umon No 1996, 176 F.3d 1357 (l lth Cir. 1999) (cited by Nmth Clr Model
Jury Instr Chapter 12, Introductory Commenr, Section 2, and holding that the 1991
amendments to the Civil Rights Act (which partially overruled the Supreme Court’s decision in
Pr'zce Waterhouse v Hopkins, 490 U.S 228 (1989), that mixed motives is a bar to recovery if
the lawful motive would have achieved the same result) do not apply to Section 1981 claims ),
Donovan v lek Marketi'ng Inc , 243 F 3d 584, 586-87 (2d Cir. 2001) (affirming the use of a
mixed motive instruction for an age discrimination case because Price Wai‘erhouse is still the
controlling law for these claims).

Plaintiff’ s Obiection: This instruction is mappropriate. This is not a “mixed motives”

case.
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DEFENDANT’S PROPOSED INSTRUCTION NO. 28
DISCRIMINATION - STRAY REMARKS

You have heard evidence that certain ARCO employees may have made inappropriate
remarks regarding the race of plaintiff s owners and employees Those remarks do not
constitute a claim for discrimination, and you should not find in favor of the plaintiff on the
basis of those remarks alone. Instead, those remarks are only relevant for the limited purpose
of plaintiffs attempt to prove that ARCO’s decision to suspend Flying B’s contract was
motivated by race.

Source: May 28, 2002, Minute Order, Maaroufv. Walker Manufacrurmg Co , 210 F 3d 750,
754-5 5 (Tth Cir 2000) (repeating the rule that remarks by a non-decision maker are only
relevant if it manipulates or affects the decision of the actual decision maker).

Plaintiff’s Obiection. There is no need for this instruction lt is argumentative in
nature, and it is simply not necessary, especially in light of other instructions about the issues to
be decided and the evidence that may be considered The jury is well equipped to evaluate the
evidence and use its common sense to come to a decision without being told flow it should

view the evidence,

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DEFENDANT’S PROPOSED INSTRUCTION NO. 29
SIMILARLY SITUATED REQUIREMENT

In attempting to prove that ARCO discriminated against Flying B, Flying B has
introduced evidence that ARCO treated other, non-minonty owned trucking companies
differently However, this is only to be considered if the other companies are similarly situated
to Flying B. It` they are not, this evidence must not be used to make your determination

“Sirnilarly situated” means that the other compames must have been similarly situated
in all relevant aspects to Flying B In other words, the other companies drivers must be shown
to have committed offenses or safety violations that were of comparable seriousness, frequency
and persistency to any offenses or safety violations committed by Flying B’s drivers.
Source McDonald Douglas Corp v Green, 411 U S 792, 804 (1973) (holding that
disparative treatment can be shown when white employees who acted with “comparable
seriousness” against the employer were treated differently), Williams v Saint Luke ’s _ Skawnee
Mission Health Sys, Inc , 276 F.3d 1057, 1060 (8th Cir. 2002) (noting that similarly situated
means so in “all relevant aspects”).

Plaintiff’s Ob|'ection: This instruction is completely argumentative Defendant can
make this argument if it wishes but there is no need for such an instruction Again, the jury is
well-equipped to evaluate the evidence in light of its common sense without being told how it

must view the evidence

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DEFENDANT’S PROPOSED INSTRUCTION NO. 30
BUSINESS JUDGMENT

You must not second guess the defendant’s business judgment The anti-discriimnation
laws do not prevent anyone from making decisions that affect one’s business, just as long as
race is not the cause of the defendant’s action. The law does not require that you agree with
defendant’s business decision In other words, you should not find that ARCO’s decision to
suspend Flying B was unlawful just because you may disagree with ARCO’s stated reasons or
because you believe the decision was harsh or nnreasonable, as long as ARCO would have
reached the same decision regardless of race.

Source Nirifh Cir Model Jw'y Instr § 12 2, Comment (noting that the 8th and lOth Circuits
have held that it is reversible error not to give a business judgment instruction ), Walker v
AT&T Technologzes, 995 F 2d 846, 850 (8th Cir 1983) (holding that failure to instruct the jury
on business judgment in an age discrimination case is reversible error and quoting J. Devitt e.
al , Federal Jury Practzce and Instructzons § 106 02 (Supp. 1992), which gives the model
instruction that “You should not find that the decision is unlawful just because you may
disagree with the defendant’s stated reasons or because you believe the decision was harsh or
unreasonable, as long as the defendant would have reached the same decision regardless of
plaintiffs age.”)), see also Faulkner v Super Valu Stores, Inc , 3 F.3d 1419, 1426-27 (10th Cir
1993) (af`firmmg the use of a business judgment instruction in a discrimination case); Spratt v
NorthernAutomotwe Corp , 958 F. Supp. 456, 463 (D. Ariz. 1996) (agreeing with Walker that
“wrong or unpopular business decisions are not unlawtiil.”).

Plaintiff’s Ob]`ection: This instruction is argumentative. Defendant is entitled to argue
its case, but this instruction invades the province of the jury by telling the jury how, and how
not, to think.

Many courts have recognized that an instruction of this nature invades the province of
the jury See egg Wichman v. Board of Trustees, 180 F.3d 791 (7th Cir. 1999), this is also a

highly misleading instruction, in that pretext is one of the primary issues in this case, and it §

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the jury’s job to evaluate whether the Defendant’s stated reasons are the true explanations for
the termination It is very misleading to imply that the jury may not look careliilly at the
Defendant’s alleged reasons to determine whether the Defendant’s alleged business

justification was its true motivation

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PLAINTIFF’S PROPOSED INSTRUCTION NO. 31
DAMAGES

lt is the duty of the Court to instruct you about the measure of damages By instructing
you on damages, the Court does not mean to suggest for which party your verdict should be
rendered

If you find for Flying B on its claim of race discrimination iii violation of federal law,
you may, but are not required to, award punitive damages The purpose of pumtive damages
are to punish a defendant and to deter that defendant and others from committing similar acts in
the future.

Flying B has the burden of proving that punitive damages should be awarded by a
preponderance of the evidence You may award punitive damages only if you find that ARCO
acted with malice or with reckless indifference to Flying B’s federally protected right to be free
from racial discrimination in contracting Coiiduct is malicious if it is accompanied by ill wiil,
or spite, or if it is for the purpose of injuring another Conduct is reckless if, under the
circumstances, it reflects complete indifference to the rights of others

If you find that punitive damages are appropriate, you must use reason in setting the
amount In considering punitive damages, you array consider the degree of reprehensibility of
ARCO’s conduct and the relationship of any award of punitive damages to any actual harm
inflicted on Flying B. Punitive damages may be awarded even if you award Flying B only
nominal economic damages
Source 9th Cir. Civil .lury Instr 12 1 (2001) (modif`ied) Kolstad v Amerlcan Dental Assn,
527 U S 526 (1999), Hennmgs v Tza'yman ’s Inc , 285 F.3d 1174 (9th Cir. 2002), Smton v
Potomac Corp , 270 F.3d 794 (9th Cir. 2001); Passantmo v Johnson & Johnson Consumer
Prods , Inc, 212 F 3d 493 (9th Cir 2000).

DEFENDANT’S OBJECTION. Defendant objects to the last three paragraphs of this
instruction The Court has already directed the parties that punitive damages will not become

an issue unless and until PlaintiE can meet a threshold showing that punitive damages may be

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appropriate May 28, 2002 Minute Order If Plaintiff does not meet this Showing, the jury
should not be instructed regarding punitive damages at all. Defendant also objects on the
grounds that there is no need to have three damages instructions in this case, see Plaintiff’s
Proposed Instructions No. 31, 32, and the Court’s Proposed Instruction No 16, as under both
the breach of contract and the discrimination claims the allowable damages would be the sarne'
actual economic damages to the corporation Thus, these two instructions are duplicative and
the jury should be instructed in accordance with just the Court’s Proposed Instruction No. 16,

without the references to pain and suffering

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PLAINTIFF’S PROPOSED INSTRUCTION NO. 32
PROOF AND CALCULATION OF DAMAGES

If you find for F lying B on either the claim for race discrinnnation in violation of
federal law, or for breach of contract, or both, you may award Flying B any lost profits you
conclude were suffered as a result You may award lost profits if‘

l. The loss is the direct and natural consequence of ARCO’s conduct,

2. lt is reasonably probable that the profits would have been earned, and

3. The amount of lost profits can be shown with reasonable certainty

Any reasonable basis for determining the amount of the probable lost profits is
acceptable Your award must be based upon evidence and not upon speculation, guess or
conjecture However, mathematical certainty is not required.
Source Calif`. Model Jury Instructions 10 91 (modified); 9th Cir Civil Jury lnstr 7 2 (2001)
(substantially modified).
DEFENDANT’S OBJECTI{)N. Defendant objects on the grounds that this instruction departs
from the law controlling this case. Specifically, this instruction does not even mention that it is
the Plaintiff’s burden to prove these elements Also, this instruction modifies the Califomia
instruction to emphasize that “any” basis is acceptable by putting that phrase at the beginning
of the sentence. Finally, as stated in Defendant’s objection to Plaintif`f’s Proposed Instruction
No 32, having three instructions on damages is duplicative, unnecessary, and could lead to
confusion

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The Honorable Thomas S. Zilly

IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF WASHINGTON
AT SEA'[TLE

BA]`NS LLCA dfb/a Flying B,, )

Plaintiff, No C01-02352

V VERDICT FORM

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Defendants g

 

Question 1: Do you find that ARCO is liable to Flying B for race discrimination in

violation of federal law?

__ (Y€S)

_2(110)

Question 2: If you answered “yes” to question number l, do you award punitive
damages?

___ (Y€S)

m (HO)

Question 3' If you award punitive damages, what amount do you award?

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Question 4: Do you find that ARCO is liable to Flying B for breach of contract2

_ (Y€S)

___ (DO)

Question 5' If you answered yes to either question no. 1 or question no. 4, or both, do

you award damages to Flying B for lost profits‘?

 

__ (Y€S)

_____ (110)

Question 6' IF your answer to question no. 5 is yes, what amount of lost profits do you
award?

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DATED this ____ day of , 2002.

 

Presiding Juror

DEFENDANT’S OBJECTION' Defendant objects to this form on numerous grounds First,
the form asks not if Flying B proved anything by a preponderance of the evidence, it just asks if
ARCO is liable. This is not the standard the jury is instructed on and mandated to follow
Second, the foriri does not ask if race was a motivating factor (the legal standard) but instead
again just asks if ARCO “is liable to Flying B ” This invites the jury not to proceed with the
necessary analytical steps. Third, the form does not ask if Flying B has made a showing of
reckless indifference of maliciousness, but just asks if the jury “award[s] punitive damages ”
This, again, invites the jury to ignore the law and simply answer the question iri regards to if it
feels Flying B should get pumtive damages, not if, under the law, Flying B has proved it is

entitled to punitive damages Fouith, the form does not ask the jury to identify the elements of`

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breach of contract In this case, where the performance of` Flying B under the contract will be

heavily disputed, making sure the jury goes through all the elements can only help ensure the

jury follows the law Fifth and finally, the form retains a punitive damages section even if

Flying B has not made a threshold Showing This creates a risk of confusion on the jury if the

Court rules as a matter of law that pumtive damages are not available and yet the jury is asked

to award them on the verdict form. Defendant’s proposed forms, to the contrary, properly

guide the jury through the law, and do not invite the jury to simply “award” damages without

the proper burdens being met by the Plaintiff

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(d) That Flying B sustained actual damages as a result of ARCO’s unjustified

breach?
Answer: (Yes or No).
Question No 2 Did Flying B prove by a preponderance Of the evidence that ARCO’S

decision to suspend its contract with F lying B was motivated by race?

Answer: (Yes or No).
Question No 3 If your answer to Question No. 2 is “Yes,” answer this question did

ARCO prove by a preponderance of the evidence that it had lawful, nondiscriminatory reasons

that caused it to suspend its contract with Flying B?

Answer (Yes or No).
Question No 4 If` your answers to all parts of Question No. l are “Yes,’1 or, your answer

to Question No. 2 is “Yes” and your answer to Question No 3 is “No,” answer this question.
what is the reasonable amount of economic damages, if any, that Flying B suffered as a result
of ARCO’s decision to suspend its contract with Flying B?

Answer (F ill in amount).

Plaintiff’s Objection Plamtiff objects on niunerous grounds First, there is no need to
hold the jury’s hand through each and every element of each claim The jury has received
instructions on the elements of each claim, and is presumed to follow those instructions lt also
unfairly instructs the jury on the issue of mixed motives when this is not a mixed motives case,

The proposed verdict form is also an effort to tell the jury that the contract was “suspended”

rather than terminated

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The Honorable Thoinas S. Zilly

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
BA]NS LLC dfb/a FLYING B, )
Plaintiff g NO. COl -023 SZ
v § vERDiCT FORM
DEFE ANT’S PROP SED
ARCO MAR_INE PRODUCTS COMPANY, a ) §/ERD§]:]'?‘ FORM H:‘ PU§ITIVE
division Of Atlanffc chhfieid CO., ) DAMAGES ARE ALLOWED)
)
Defendant )

We, the jury, being duly empanelled and sworn upon oath, unanimously state the
following verdict
Question No. l: Did Flying B prove the following by a preponderance of the evidence
(a) That ARCO entered into a contract with Flying B?
AM: (Yes or No)
(b) That Flying B had performed its obligations under the contract?
_A_nsLer: (Yes or No)

(c) That ARCO breached its contracted with Flying B?

Answer: (Yes or No); and
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(d) That Flying B sustained actual damages as a result of ARCO’s unjustified
breach?
AM' (Yes or No).

Question No 2 Did Flying B prove by a preponderance of` the evidence that ARCO’s

decision to suspend its contract with Flying B was motivated by race?

 

Answer: (Yes or No).
Question No 3 If your answer to Question No 2 is “Yes,” answer this question by

suspending its contract With Flying B, did Flying B prove by a preponderance of the evidence
that AR.CO acted with malice or recklessness indifference towards Flying B’s rights to be free

from racial discrimination?

Answer (Y es or No)
Question No 4: If your answer to Question No 2 is “Yes,” answer this question: did

ARCO prove by a preponderance of the evidence that it had lawfui, non-discrimmatory reasons

that caused it to suspend its contract with Flying B?

Answer: (Yes or No)
Question No 5 If your answers to all parts of Question No. 1 are “Yes,” or, your answer

to Question No 2 is “Yes” and your answer to Question No. 4 is “No,” answer this question:
what is the reasonable amount of economic damages, if any, that F lying B suffered as a result

ofARCO’s decision to suspend its contract with Flying B‘P

Answer (Fill in amount).
Question No. 6. If your answer to Question No 3 is “Yes,” answer this question: what is

the reasonable amount of punitive damages, if any, that should be awarded against ARCO?

Answer: (Fill in amount).
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Plaintiff’s Obiecti‘on: Plaintiff objects on numerous grounds First, there is no need to
hold the jury’s hand through each and every element of each claim. The jury has received
instructions on the elements of each claiiri, and is presumed to follow those instructions It also
unfairly instructs the jury on the issue of mixed motives when this is not a mixed motives case,

The proposed verdict form is also an effort to tell the jury that the contract was “suspended”

rather than terminated

JOINT STATEMENT OF DlSPUTED INSTRUCTIONS - 34

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The Honorable Thomas S. Zilly

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WASHINGTON

AT sEArTLE
BAINS LLC afb/a Flying B, )
) No. C01-02352
Piainiiff, )
§ cERriFiCATE oF sERvicE
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)
ARCo PRoDUcTs coMPANY, a division of )
Atlantic Richfield Co., a Delaware Company, )
)
Defendant )
)

 

The undersigned certifies under the penalty of perjury under the laws of the State of
Washington that l am now and at all times herem mentioned, a citizen of the United States, a

resident of the state of Washington, over the age of eighteen years, not a party to or interested

in the above-entitled action, and competent to be a witness hereui

On this date I caused to be served in the manner noted below a copy of the documents

entitled JOINT STATENIENT OF DlSPUTED INSTRUCTIONS, on the following
counsel of record.

Edwin S. Budge, Esq.

Budge & Heipt, P L L.C.

705 Second Avenue, Suite 910
Seattle, WA 98104

CERTIFICATE OF SERVICE _ l Davis Wright Tremaine LLP

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Margar C. Sinnott

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